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                                                                                         United States Bankruptcy Court
                                                                                             Southern District of Texas

                                                                                                ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                             September 11, 2023
                            FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

IN RE:                         §
                               §                                     CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                           §                                     CHAPTER 7
                               §
      Debtor.                  §
                               §
OSAMA ABDULLATIF,              §
                               §
      Plaintiff,               §
                               §
VS.                            §                                     ADVERSARY NO. 23-3193
                               §
ALI CHOUDHRI,                  §
                               §
      Defendant.               §

                                        ORDER REMANDING CASE

       This state court litigation was removed on August 31, 2023. On September 7, 2023, counsel
for defendant filed a Withdraw Document (ECF No. 2) apparently attempting to withdraw the
removal. Once claims or causes of action have been removed pursuant to 28 U.S.C. § 1452(a) and
Bankruptcy Rule 9027(a), the court may remand such claim or cause of action, on any equitable
ground, to the original court.1 This provision affords the court broad discretion in determining
whether to remand the matter or to deny the remand request.2 As such, the Court finds that the
adversary should be remanded due to the filed withdrawal.

       THEREFORE, IT IS ORDERED that the Adversary No. 23-3193 shall be remanded to
the 333rd District Court of Harris County, Texas.
        SIGNED 09/11/2023


                                                               ___________________________________
                                                               Jeffrey Norman
                                                               United States Bankruptcy Judge




1
    § 1452(b); Fed. R. Bankr. P. 9027(d).
2
    Best v. Galloway (In re Best), 417 B.R. 259, 270 (Bankr. E.D. Pa. 2009).
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